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 1   JOHN F. GARLAND #117554
     Attorney at Law
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     Fresno, California 93721
 3
     Telephone: (559) 497-6132
 4
     Attorney for Defendant,
 5   RANDOLPH PICCHI
 6
 7                        IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                 EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                                 Case No. 1:19-CR-00153 DAD-BAM

11           Plaintiff,                                        STIPULATION TO CONTINUE
                                                               BAIL REVIEW HEARING
12                  v.                                         AND ORDER THEREON

13   RANDOLPH PICCHI.,                                         DATE: May 20, 2020
                                                               TIME: 2:00 p.m.
14          Defendant.                                         Courtroom Nine

15                                                             Honorable Stanley A. Boone

16
17          Defendant, RANDOLPH PICCHI, by and through his counsel, John F. Garland and the
18
     United States of America, by and through its counsel, McGregor W. Scott, United States
19
     Attorney and Ross Pearson, Assistant United States Attorney, hereby stipulate to continue the
20
     Bail Review Hearing from May 1, 2020 to May 20, 2020 at 2:00 p.m. This continuance is
21
22   necessary to allow the defendant additional time to provide additional information to support his

23   proposed release plan after review of the Pretrial Services supplemental report.
24
           IT IS SO STIPULATED:
25
26   Dated: May 1, 2020                                              /s/ John F. Garland
                                                                       John F. Garland
27
                                                                    Attorney for Defendant
28                                                                  RANDOLPH PICCHI
                                                          1
     ___________________________________________________________________________________________________________________
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 1
 2
     Dated: May 1, 2020                                        McGregor W. Scott
 3                                                            United States Attorney

 4                                                                 /s/ Ross Pearson
                                                               By:     Ross Pearson
 5
                                                                Assistant U.S. Attorney
 6
 7                                                ORDER
 8
              GOOD CAUSE APPEARING, based on the stipulation of the parties,
 9
     IT IS HEREBY ORDERED that the Bail Review Hearing for defendant Randolph Picchi be
10
     continued from May 1, 2020 to May 20, 2020 at 2:00 p.m. before Magistrate Judge Stanley A.
11
12   Boone.

13
     IT IS SO ORDERED.
14
15   Dated:      May 1, 2020
                                                                UNITED STATES MAGISTRATE JUDGE
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     ___________________________________________________________________________________________________________________
